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                                   EXHIBIT 6
                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
CRYSTAL LONG,
                                         Civil Action No.
                  Plaintiff,
                                         8:17-cv-01955-GJH
      V.

PENDRICK CAPITAL PARTNERS II,
LLC,

ABILITY RECOVERY SERVICES,
LLC,

EXPERIAN INFORMATION
SOLUTIONS, INC.,

    AND

EQUIFAX INFORMATION SERVICES,
LLC,

                  Defendants.


    DEFENDANT, ABILITY RECOVERY SERVICES, LLC S SUPPLEMENTAL
      ANSWERS AND OBJECTIONS TO PLAINTIFF, CRYSTAL LONG'S
                     FIRST INTERROGATORIES

      Defendant, Ability Recovery Services, LLC ("ARS"), by and through its

attorneys, Marshall Dennehey Warne, Coleman        85   Goggin, P.C., hereby submits

the following supplemental Answers and Objections to Plaintiff, Crystal Long's

First Interrogatories addressed to ARS, stating as follows:

                               PRELIMINARY STATEMENT

      As to each and every request contained in Plaintiffs First Interrogatories,

ARS states the following:
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            These responses are made pursuant to the Federal Rules of Civil
                                                                               It is
Procedure and are based upon information presently known by ARS.

anticipated that further discovery, investigation, legal research and analysis will

supply additional factual conclusions and legal contentions.      ARS reserves the

right to rely on such additional discovery, investigation, legal research and

analysis, and to make such additions, changes, and variations to these responses

as warranted thereby. These responses are made in a good faith effort to supply

as much information and specification as is presently known, but shall not

prejudice ARS in relation to further discovery, research or analysis.

      2     Each response herein is subject to all objections on any grounds that

would require exclusion of all or part of any statement herein as if such request

was asked of, or statements contained herein were made by, a witness testifying at

trial, all such objections being expressly reserved.

      3.    ARS' identification of documents and/or providing information herein

shall not be construed as an admission of ARS that any such document and/or

information is either relevant or admissible for any purpose, including trial, in the

above-referenced matter.

             No incidental or implied admissions are intended by the responses

made herein. The fact that ARS has answered or objected to any Request is not

an admission that ARS admits the existence of any "facts" set forth or assumed by

 such request.
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                               GENERAL OBJECTIONS

            ARS objects to all Interrogatories that attempt to require it to provide
                                                                                ,
information and/or documentation not within its possession, custody, or control
                                                                           s,
or within the possession, custody, or control of any of its representative

employees, agents, or attorneys.

      2     The absence of an objection that an Interrogatoiy is irrelevant is not
                                                                               on
intended to be a waiver of that objection and ARS reserves the right to object

relevancy grounds at any stage of these proceedings.

      3.    ARS has responded to these Interrogatories to the extent of its current

knowledge and available information. However, ARS' discovery and investigation
                                                                              of
in preparation for trial of this matter has not been completed as of the date
                                                                            than
these responses, and therefore, ARS does not purport to state anything more
                                                                                 s
the information presently known to or discovered by it. ARS specifically reserve
                                                                              nal
the right to supplement, modify, or amend its responses or to present additio

information at a later date.

       4     ARS has based its responses upon the assumption that Plaintiff and
                                                                              y-
did not intend to seek information protected against discoveiy by the attorne
                                                                                 t
client privilege or the attorney work product doctrine. To the extent any Reques
                                                                                and
or any part thereof is intended to elicit such information, ARS objects thereto

 asserts the protection and privileges provided thereby to the fullest extent.

       5.    ARS objects to the Interrogatories which attempt to require it to
                                                                         such
 identify "all" persons with knowledge and documents on the grounds that

 Requests are unduly burdensome, oppressive, and overbroad.
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     6.    ARS objects to these Interrogatories to the extent they utilize the word
                                                                   some,
"identify" in such a manner as to render the Request unduly burden

oppressive and overbroad.

            ARS objects to these Interrogatories on the grounds that they are
                                                                       s require
unduly burdensome and oppressive to the extent that the Interrogatorie
                                                                     personal
ARS to state specific facts, documents conversations, agreements and
                                                                      l and
knowledge upon which ARS bases a denial of an abstract, vague, genera

incomprehensible assertion by ARS.        In many cases, it is difficult, if not

                                                                         is given
impossible, to prove a negative or a nonexistence, particularly when ARS
                                                                    introduce any
no specific facts to refute. Accordingly, ARS reserves its right to
                                                                              ons.
additional information when and if Plaintiff makes specific supported asserti

            Referencing and expressly incorporating each of these general

objections, ARS hereby responds as follows:

         DEFENDANT, ACCOUNT RESOLUTION SERVICES, LLC'S
    SUPPLEMENTAL ANSWERS AND OBJECTIONS TO PLAINTIFF S FIRST
                       INTERROGATORIES

                                                                      any fact
1. Identify all persons who are likely to have personal knowledge of
                                                                      state the
alleged in the Complaint, and any defense alleged in your Answer, and
                                                                      person -
subject matter of the personal knowledge possessed by each such
                                                                      ised any
including any of your employees who, in any way, handled or superv
                                                                           ng or
matters in connection with Plaintiffs disputes to you, your credit reporti
                                                                         mer or
furnishings about Consumer, and any of your communications with Consu
any credit reporting agency regarding Plaintiff.
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ANSWER:
                                                             that it is vague,
Objection. ARS objects to this Interrogatory on the grounds
                                                              ssible evidence.
overbroad and not calculated to lead to the discovery of admi
                                                                 that Plaintiff,
Subject to and without waiving these objections, ARS responds
                                                            September 2016
Crystal Long, a representative of Plaintiffs employer from
                                                                handbook and
through May 2017 with access to the employer's employee
                                                                   nt, Pendrick
guidelines, Kim Nanfeldt of ARS, a representative of co-Defenda
                                                                 co-Defendant,
Capital Partners II, LLC ("Pendrick"), a representative of
                                                               sentative of co-
Experian Information Solutions, Inc. ("Experian") and a repre
                                                                have personal
Defendant, Equifax Information Services, LLC ("Equifax")
                                                                  defenses.
knowledge of the facts alleged in Plaintiffs Complaint and ARS'
                                                                  needed for just
2. Identify any persons or entities whom you contend are persons
                                                                    not been
adjudication within the meaning of Fed. R. Civ. P. 19, but who have
named by Plaintiff.

ANSWER:
                                                             that it is vague,
Objection. ARS objects to this Interrogatory on the grounds
                                                              ssible evidence.
overbroad and not calculated to lead to the discovery of admi
                                                                      to satisfy part
3. If any person covered on an insurance business might by liable
                                                                    to indemnify or
of all of a judgment that might be entered in this action or
                                                                       person, state
reimburse for payments made to satisfy the judgment, identify that
                                                                          the person
the applicable policy limits of any insurance agreement under which
                                                                      by the person
might be liable, and describe any question or challenge raised
                                                                     No. 5)
relating to coverage for this action (Standard General Interrogatory

 ANSWER:
                                                                     nsive to this
 ARS does not have any information which is, or may be, respo
                                                                     claims in her
 Interrogatory, as it is effectively self insured against Plaintiffs
 Complaint.
                                                                 to provide expert
 4. For each witness you have retained or specially employed
                                                                  rly involve giving
 testimony in this case, or employed by you whose duties regula
                                                                      e a complete
 expert testimony and whom you expect to testify at trial, provid
                                                                   ns therefore.
 statement of the opinions to be expressed and the basis and reaso
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ANSWER:
                                                         regarding expert
At the present time ARS has not made any decisions
                                                         ves the right to
witnesses that it may utilize in this matter. ARS reser
                                                        in this matter is
update its response to this Interrogatory, as discovery
ongoing.
                                                                   name and address
5. Please state the full name, address, job title, occupation and
                                                                  in answering these
of the present employer of each person answering or assisting
interrogatories on your behalf.

ANSWER:

Kim Nanfeldt - Collection Manager at ARS.
                                                              iff to Pendrick by
6. Itemize and show how you calculate any debt owed by Plaint
Ability.

ANSWER:
                                                            ds that it is vague,
Objection. ARS objects to this Interrogatory on the groun
                                                         admissible evidence.
overbroad and not calculated to lead to the discovery of
                                                             nds that it relied
Subject to and without waiving these objections, ARS respo
                                                            when determining
on the information provided by co-Defendant, Pendrick,
                                                          from Plaintiff.
the amount of the debt at issue that it sought to recover
                                                            and vendor's address,
7. Identify by name, publisher, publisher's address, vendor
                                                            collect, or report any
any commercial software which you use to maintain, bill,
                                                                ation information
information relating to your consumer accounts or applic
relating to your consumer accounts.

 ANSWER:
                                                             ds that it is vague,
 Objection. ARS objects to this Interrogatory on the groun
                                                          admissible evidence.
 overbroad and not calculated to lead to the discovery of
                                                              ds that it seeks
 ARS further objects to this Interrogatory on the groun
                                                          ietary in nature, the
 information which is, or may be, confidential or propr
                                                            at a competitive
 disclosure of which could potentially leave ARS
 disadvantage in its industry.
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                                                                             Metro
8. Please identify the date, recipient, and content (as recorded by Metro or
                                                                                 d
2 data) of each occurrence during the preceding five years in which you reporte
                                                                                 r
to credit data regarding Plaintiff. If you have reported such data, state whethe
                                                                                by
such reportings were made pursuant to an express or written authorization
you for the relevant consumer reporting agency to report that data.

ANSWER:
                                                                   this
ARS does not currently have any information which is responsive to
Interrogatory.    ARS reserves the right to update its response to this
Interrogatory, as discovery in this matter is ongoing.
                                                                              each
9. Identify by name, home address, telephone number, and date of birth,
                                                                               ised
individual employed by Ability in the preceding 5 years who superv
                                                                              you.
reinvestigations of credit data reported to any consumer reporting agency for
                                                                                  of
Include in you answer a description of the individual's job title and the dates
employment of the individual.

ANSWER:
                                                               the
Cassandra Groshek, Clerical Employee from February 15, 2017 to
present;
                                                                         t;
Shannon Saxon Price, Clerical Employee from April 26, 2016 to the presen
and

Susan Cooper, Clerical Employee from April 24, 2017 to December 1, 2017.
                                                                        ed to
All three individuals supervised reinvestigations of credit data report
consumer reporting agencies during the applicable time period.

 10.           In light of the allegations in the Complaint, please identify each
                                                                                 f
 incident where you erroneously verified credit information relating to Plaintif
 which should not have been verified.

 ANSWER:
                                                                          it is
 Objection. ARS objects to this Interrogatory on the grounds that
                                                                             of
 confusing, vague, overbroad and not calculated to lead to the discovery
                                                                          ARS
 admissible evidence. Subject to and without waiving these objections,
                                                                           sive
 responds that it does not have any information that is, or may be, respon
                                                                         ation
 to this Interrogatory, as it did not erroneously verify credit inform
 related to Plaintiff which allegedly should not have been verified.
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11.             In light of the allegations in the Complaint, please identify each
action taken by you in verifying the credit information relating to Plaintiff upon
notification of each dispute from either the consumer directly, or from a credit
reporting agency.

ANSWER:

Objection. ARS objects to this Interrogatory on the grounds that it is
confusing, vague, overbroad and not calculated to lead to the discovery of
admissible evide nee.   ARS further objects to this Interrogatory on the
grounds that it seeks the disclosure of information which is, or may be,
confidential and/or proprietary in nature. Subject to and without waiving
these objections, ARS responds that it has procedures in place regarding the
receipt of disputes in which it performs reasonable investigations into each
dispute, including, but not limited to, review of all relevant information
provided by the consumer. Upon completion of the review, ARS reports the
results to the consumer within thirty days of receipt of the dispute and
notifies the consumer reporting agencies of any corrected information that
resulted from its reasonable investigation.

12.            Please explain and describe Ability's actions to assess or identify
the risks and potential for harm to consumers arising from inaccurate credit
reporting by Ability.

      ANSWER:

Objection. ARS objects to this Interrogatory on the grounds that it is
confusing, vague, overbroad and not calculated to lead to the discovery of
admissible evidence.
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13.            Describe eveiy step taken by you to investigate Consumer's dispute
of your account and consumer credit data which was reported to the national
consumer reporting agencies—including the identity, home address, telephone
number, social security number and date of birth of witnesses interviewed and
persons conducting the investigation; documents requested and reviewed,
communications with the national consumer reporting agencies, description of
any computer systems queried or other investigative means employed. Please
include reference to the matter in which the data in this case was investigated,
Ability's understanding as to how it continued to be placed in Consumer's credit
files and reports and whether Ability took any steps to have that information
removed or altered so as to prevent said data from being incorrectly attributed to
Consumer.

ANSWER:
                                                                       it is
Objection. ARS objects to this Interrogatory on the grounds that
confusing, vague, overbroad and not calculated to lead to the discovery of
admissible evide nee.   ARS further objects to this Interrogatory on the
grounds that it seeks the disclosure of information which is, or may be,
confidential and/or proprietary in nature. Subject to and without waiving
these objections, ARS responds that upon receipt of Plaintiffs dispute it
performed a reasonable investigation into the information that it had in its
possession regarding Plaintiffs account to either verify the dispute or to
make a determination that the information that it had in its possession was
inaccurate.   ARS then reported the results of its investigation to both
Plaintiff and the credit bureaus, as per the requirements of the Fair Credit
Reporting Act.
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14. Identify the date, time, matter, purpose and individuals responsible for each
incident in which Ability obtained access to Long's consumer credit or any
consumer report at any time during the preceding 3 years.

ANSWER:

Objection. ARS objects to this Interrogatory on the grounds that it is
confusing, vague, overbroad and not calculated to lead to the discovery of
admissible evidence.     ARS further objects to this Interrogatory on the
grounds that it seeks the disclosure of information which is, or may be,
confidential and/or proprietary in nature. Subject to and without waiving
these objections, ARS responds that it does not possess any information that
is, or may be, responsive to this Interrogatory, as it did not access Plaintiffs
credit reports at any time during the preceding three years.

15.   Identify the true creditor of any account which Ability reported in
association with Consumer's personal identifiers—including but not limited to the
holder of the account or securitization trust which owned the credit obligation—
and the nature of any relationship between Ability and that creditor.

ANSWER:

Objection. ARS objects to this Interrogatory on the grounds that it is
confusing, vague, overbroad and not calculated to lead to the discovery of
admissible evidence. Subject to and without waiving these objections, ARS
responds that it attempted to recover a valid and delinquent debt owed by
Crystal Long to co-Defendant, Pendrick.

16.   Identify by description, author, date of creation any documents which have
been requested by the Plaintiff, but which have been withheld on the basis of
trade secret, confidentiality or privilege.

ANSWER:

ARS' applicable policies and procedures regarding disputes, any policies or
procedures received from the credit bureaus, to the extent that such
documents exist and ARS* training and supervisory materials.
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17.   Identify—including Case number, venue, parties, amount of any settlement
or judgment paid by Ability—every lawsuit in which you were alleged to have
                                                                                 er
improperly reported or reinvestigated credit reporting data relating to a consum
report.

ANSWER:

Objection. ARS objects to this Interrogatory in that it is irrelevant, overly
                                                                                 of
broad, unduly burdensome, not calculated to lead to the discovery
admissible or relevant evidence and is intended to harass and oppress ARS.
                                                                              Wis.
See Dewey v. Associates Collectors, Inc.. 927 F.Supp. 1172, 1175 (W.D.
1996); Powell v. Computer Credit, Inc., 975 F. Supp 1034, 1039 (S.D. Ohio
                                                                                 to
1997)("the Court should consider the debt collector's noncompliance as
                                                                               t to
the individual plaintiff only, and not to others who may have been subjec
                                                                               and
the debt collector's noncompliance"); and Anderson v. Frederick J. Hann
                                                                                 er
Associates, 361 F. Supp. 2d 1379, 1384 (N.D. Ga. 2005)(declining to consid
FDCPA violations unrelated to the present action); Cusumano v. NRB, Inc.,
                                                                                22,
1998 U.S. Dist. LEXIS 15418, *4-*7, Case No. 96 C 6876 (N.D. 111. Sept.
1998) (denying motion to compel production of information about other
litigation concerning collection practices)(citing to Byes v. Credit Bureau
                                                                                 "I"
Enters., 1995 U.S. Dist. LEXIS 13559, *2 Civil Action No. 95-239 SECTION
                                                                               U.S.
(4) (E.D. La. Sept. 8, 1995)) and Richard v. Oak Tree Group, Inc., 2008
Dist. LEXIS 95002, *20, Case No. l:06-cv-362 (W.D. Mich. Nov. 21, 2008)
                                                                                the
(finding the reasoning in Dewey persuasive and concluding that
                                                                              debt
"frequency and persistence of non-compliance" does not include a
                                                                               404
collector's action with respect to non-parties). Additionally, F.R.E.
                                                                                not
clearly states, "evidence of a person's character or a trait of character is
                                                                                   a
 admissible for the purpose of proving action in conformity therewith on
                                                                                the
 particular occasion. . ." The fact that ARS may have faced lawsuits in
                                                                                 ter
 past or may be involved in other lawsuits presently is clearly charac
                                                                                and
 evidence and nothing more and thus, is neither relevant nor admissible
 is unduly burdensome in light of the claims asserted. Also, the information
                                                                                the
 sought by Plaintiff in this Interrogatory is equally available to Plaintiff in
 public domain.
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18.   Please state, explain and describe the contents of each and every CDV
[Consumer Dispute Verification] and ACDV [CDV response] and UDF [Universal
Data Form] you received, sent or possessed, at any time, which bore any of
plaintiffs personal identifiers.

ANSWER:

ARS is in the process of obtaining additional information regarding this
Interrogatory and will provide the information upon receipt, as discovery in
this matter is ongoing.

19.    Please state, explain and describe all of the information or data that you
received from Pendrick that resulted in you attempting to collect money from the
Plaintiff.

ANSWER:

Objection. ARS objects to this interrogatory on the grounds that it is vague
and overbroad and on the grounds that it seeks information from ARS which
is, or may be, confidential or proprietary in nature, the disclosure of which
may place ARS at a competitive disadvantage in its industry.

20.   For each paragraph of plaintiffs Complaint (as amended) for which you deny
the allegations, please explain and describe any facts which you believe ma
support each denial.

ANSWER:

ARS refers Plaintiff to its Answer to Plaintiffs Complaint, which was filed on
July 28, 2017 at ECF 17.

21.    Please state the dates and exact contents of each reporting, which bore any
of plaintiffs personal identifiers, you made to any consumer reporting agency(ies)
(as defined by 15 U.S.C. 1681a) to which you subscribe(ed).

ANSWER:

ARS is in the process of obtaining additional information regarding this
Interrogatory and will provide the information upon receipt, as discovery in
this matter is ongoing.
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22.   Please explain and describe your specific allocation, in percentages and/or
dollar amounts, of your resources committed to reinvestigation of consumer
disputes complaining that your credit account(s) were created by or otherwise
resulted from application fraud in the past 5 years.

ANSWER:

Objection. ARS objects to this interrogatory on the grounds that it is
confusing, irrelevant, unintelligible, vague, overbroad and not calculated to
lead to the discovery of admissible evidence. ARS further objects to this
Interrogatory on the grounds that it seeks information from ARS which is, or
may be, confidential or proprietary in nature, the disclosure of which may
place ARS at a competitive disadvantage in its industry.

23.   Please state your net income for each of the preceding eight (8) quarters.

ANSWER:


Objection. ARS objects to this interrogatory on the grounds that it is
irrelevant, vague, overbroad and not calculated to lead to the discovery of
admissible evidence. By way of further response, the information sought in
this Interrogatory is irrelevant, as this matter was not filed as a class action
lawsuit.

                                           MARSHAL DENNEHEY^WAI           :NER
                                           COLEMAN

                                     By:
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                                           Attorneys for Defendant
                                           Ability Recovery Services, LLC
Dated:
